211 West Fort Street
Detroit, MI 48226


                                    UNITED STATES BANKRUPTCY COURT
                                          Eastern District of Michigan

                                               Case No.: 15−42543−tjt
                                                     Chapter: 7

In Re: (NAME OF DEBTOR(S))
   Kerry L Bentivolio
   dba Kerry Bentivolio for US Congress, dba
   Bentivolio for Congress
   260 White Pine Tr
   Milford, MI 48381
Social Security No.:
   xxx−xx−7208
Employer's Tax I.D. No.:


                                        NOTICE OF DEFICIENT FILING


       It has been determined that the following document(s) are Missing and/or Non−Compliant:

       Re #14 Cover Sheet for Amendments (Amended Voluntary Petition is missing)

       is defective as indicated:

           Acceptable List of Creditors
           Acceptable List of Creditors Not Uploaded
           Cover Sheet for Amendments (To be filed with corrected document in its entirety as one PDF)
           Amended Document (To be filed with Cover Sheet for Amendments in its entirety as one PDF)
           Application for Waiver of Filing Fee
           Attorney Disclosure of Compensation Statement 2016(b) (LBR 9010−1(c))
           Bankruptcy Petition Cover Sheet
           Bankruptcy Matter Civil Case Cover Sheet Missing
           Brief
           Certificate of Exigent Circumstances − Credit Counseling Waiver
           Debtors Statement of Corporate Ownership
           Electronic Signature does not match login
           Electronic Signature Missing or Incorrect Format ECF Procedure 11(d)(1)
           List of 20 Largest Unsecured Creditors
           Motion for Approval of Certificate of Exigent Circumstances 109(h)(3)(A) Missing
           Motion to Convert under 11 U.S.C. § 706(a) (Rule 9013)
           Motion to Excuse Credit Counseling 109(h)(4) Missing
           Notice of Objection to Claim
           Notice of Special Appearance Missing or Non−Compliant (LBR 9010−1(c))
           Notice to Respondent
           Original Signature
           Proof of Service Missing or Non−Compliant
           Proposed Order
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    Reaffirmation Agreement Cover Sheet
    Statement of Corporate Ownership LBR 9013−5

A corrected/missing document must be filed with the court within seven (7) days of this notice. If not
corrected, the case may be dismissed or an order striking the document from the record may be
entered by the Court. The new document filed should be identified as "CORRECTED".


Dated: 3/10/15

                                                   BY THE COURT

                                                   Katherine B. Gullo , Clerk of Court
                                                   U.S. Bankruptcy Court




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